                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                               8:21CR181

      v.
                                                            JUDGMENT
TOMAS LORENZO-CRUZ,

                    Defendant.


      Pursuant to the Memorandum and Order (Filing No. 200) entered today, judgment
is entered in favor of the United States of America and against Tomas Lorenzo-Cruz. See
Fed. R. Civ. P. 58; Jeffries v. United States, 721 F.3d 1008, 1012-13 (8th Cir. 2013)
(concluding Rule 58 is applicable in § 2255 proceedings).

                                               BY THE COURT:




                                               Robert F. Rossiter, Jr.
                                               Chief United States District Judge
